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14-4035- cr
United States Court of Appeals
                         for the
               Second Circuit
                           


               UNITED STATES OF AMERICA,

                                                              Appellee,

                            – v. –

                      RYAN STAPLES,

                                                   Defendant-Appellant.

                ___________________________
  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
 FOR THE NORTHERN DISTRICT OF NEW YORK (SYRACUSE)

     BRIEF FOR DEFENDANT-APPELLANT


                                 LAW OFFICE OF JOHN S. WALLENSTEIN
                                 Attorneys for Defendant-Appellant
                                 1100 Franklin Avenue, Suite 100
                                 Garden City, New York 11530
                                 (516) 742-5600
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         This is an appeal from a final judgment [A-94] 1 of the United States District

Court for the Northern District of New York, (Thomas J. McAvoy, Senior Judge)

entered      October 14, 2014, under Docket # 13 CR 440 (TJM), convicting

Defendant-Appellant Ryan Staples, after a plea of guilty, of three counts of

Production of Child Pornography in violation of 18 U.S.C. §2251 (a) & (e) and

sentencing him principally to serve 360 months imprisonment on each count, to

run consecutively, for a total term of imprisonment of 1,080 months, or 90 years;

Supervised Release for life on each Count, to run concurrently; forfeiture of

certain identified property; and to pay a $300 special assessment. Mr. Staples is

currently serving his sentence at the United States Penitentiary in Tucson, Arizona.

Jurisdiction in the District Court was pursuant to 18 U.S.C. § 3231.

         A Notice of Appeal was timely filed on October 23, 2014, [A-100].

Jurisdiction in this Court is conferred pursuant to 28 U.S.C § 1291.




1
    Material in brackets refers to pages of the Appendix.
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                           QUESTIONS PRESENTED


      This appeal presents the issue of ineffective assistance of counsel, in that the

advocacy of defense counsel was so deficient as to violate the Sixth Amendment.

As a result, the plea agreement, containing an appellate waiver, is unenforceable

and the waiver void. The following questions are presented for this Court’s

determination:

      1)     Was the assistance of counsel provided to Defendant-Appellant in the

District Court so ineffective as to constitute a violation of the defendant’s Sixth

Amendment right to competent counsel? Appellant submits that the answer is yes.

      2)     Is the plea agreement and appeal waiver therein enforceable,

considering the ineffective assistance of counsel in the District Court? Appellant

submits that the answer is no.

      3)     Was the sentence imposed excessive and far greater than necessary to

achieve the goals of sentencing as mandated by 18 U.S.C. § 3553(a), and thus

substantively unreasonable? Appellant submits that the answer is yes.

      4)     Was the sentencing procedurally unreasonable in that the District

Court failed to properly calculate the advisory Guidelines range? Appellant

submits that the answer is yes.




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                         STATEMENT OF THE CASE

OVERVIEW


      Defendant-Appellant Ryan Staples was convicted, after a plea of guilty, of

three counts of Production of Child Pornography in violation of 18 U.S.C.§ 2251

(a) & (e). Mr. Staples was sentenced principally to serve a total of 1,080 months

(90 years) imprisonment, the statutory maximum on each of the three counts

running consecutively, to be followed by a lifetime term of supervised release with

conditions, and to pay a $300 special assessment.


      The charges against Mr. Staples stemmed from incidents which occurred in

the summer and early fall of 2010, when he videotaped three boys, aged 9 to 13,

(two of whom were related to him) engaged in sexual activity. The resulting

recordings were then uploaded onto computers, one of which belonged to someone

else. The recordings were found by federal agents during the execution of a search

warrant at Mr. Staples’ home in Franklin County, New York in October 2013.

Forensic examinations of the computers established that Mr. Staples produced the

images.


      Mr. Staples was charged in a four count indictment [A-8] with the three

counts noted above to which he ultimately pled guilty, along with a fourth count

charging Possession of Child Pornography, in violation of 18 U.S.C.§


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2252A(b)(2). With the advice of counsel, Mr. Staples entered into a plea agreement

[A-13] with the Government, pursuant to which he agreed to plead guilty to the

three Production counts, which carried a statutory sentencing range of 15 to 30

years each, in exchange for which plea the Government would dismiss the

Possession count, which carried a statutory maximum sentence of 10 years. Thus,

Mr. Staples was exposed to a potential 90 year sentence (which he ultimately

received) instead of a potential maximum of 100 years, which, given the numbers,

was of no benefit to him at all. The plea agreement contained a waiver of Staples’

appellate rights if he was sentenced to 90 years or less, and yet his counsel

apparently advised him to accept what would clearly be an unreviewable life

sentence.


      He pleaded guilty pursuant to the agreement before Judge McAvoy on May

1, 2014 and was sentenced on October 14, 2014 to three consecutive terms of 30

years each, the maximum possible sentence.


      This appeal followed, after a pro se Notice of Appeal [A-100] was filed.

Mr. Staples is presently serving his sentence at United States Penitentiary in

Tucson, Arizona.




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FACTS


      The operative facts underlying this case are fairly straightforward, albeit

quite disturbing. From July through October of 2010, Ryan Staples, a resident of

Franklin County in the Northern District of New York, videotaped three boys

between the ages of 9 and 132 engaged in sexual activity, and uploaded the images

thus produced onto his computers and a computer belonging to another person.

Significantly, those images were all produced in a very short time span, between

July and October of 2010, and the images depicted not only the three boys

individually, but also together at times. However, as noted below, the Government

chose to treat these obviously related occurrences as separate and distinct acts

rather than a single course of conduct, and Staples’ attorney did not challenge this

treatment in any way, nor even raise the issue.


      Staples also uploaded images to a file sharing website. Sometime in 2012,

the website came under scrutiny by the Department of Homeland Security, and the

ensuing investigation led agents to Mr. Staples. On October 24, 2013, agents

executed a search warrant at Staples’ home in Chateaugay, New York, where they

seized two computers, various other electronic devices, and miscellaneous items.



2
  The record contains some details about the children, but they will not be further
identified in this brief because of their ages, and their identities are irrelevant to the
issues on appeal.
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When computer experts searched the files of the computers, they found images

containing child pornography, and Staples was arrested.




PRE INDICTMENT PROCEEDINGS


        After Staples’ arrest, a Complaint was filed [A-2, Docket Entry # 1] and he

appeared before United States Magistrate Judge Larry A. Kudrle in Plattsburgh,

and was temporarily detained. Attorney Mark Anderson of           Plattsburgh was

appointed to represent Staples, [A-3, Docket Entry #3] and a detention hearing was

scheduled. At the detention hearing on October 29, 2013, Staples was ordered

permanently detained,[A-3, Docket Entry #4], and a preliminary hearing was

scheduled . That hearing was adjourned at Anderson’s request, until November 21,

2013.


THE INDICTMENT


        On November 20, 2013, the day before the scheduled hearing, a Northern

District Grand Jury returned the four count Indictment in this case. [A-8] The

Indictment charged Staples with three counts of Production of Child Pornography,

18 U.S.C. § 2251, one count for each of the three victims noted above, and a single

count of Possession of Child Pornography, 18 U.S.C. § 2252A(b)(2). The next

day, Staples was arraigned before Magistrate Judge Kudrle, entered a not guilty
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plea, and a scheduling order was entered setting a trial date in January 2014. [A-4,

Minute Entry and Docket Entry # 8]


THE PLEA AGREEMENT


      The trial date was moved back, and on May 1, 2014, Staples entered into a

written plea agreement with the Government [A-13] and entered a plea of guilty

pursuant to the agreement the same day. [A-34]. The terms of the Agreement

provide that the defendant must plead guilty to all three counts of Production of

Child Pornography,[A-13] each of which carried a mandatory minimum sentence

of 15 years and a maximum sentence of 30 years[A-15]; pay restitution of “the full

amount of the victims’ losses” [A-14], and forfeit assets consisting of the

computers seized by the agents when the search warrant was executed. [A-14]. The

Government is obligated under the agreement to dismiss the remaining count of the

indictment, with the proviso that such dismissal is without prejudice and the

dismissed counts may be restored if the plea and sentence are vacated. [A-14]. The

Government also agreed not to bring any other charges related to the conduct

which underlies the Indictment and plea in this case. The agreement indicates the

Court has discretion to run the sentences on the three counts consecutively.

Notably, while the Agreement makes reference to the two level and additional one

level downward adjustments to the Sentencing Guidelines calculation for

acceptance of responsibility, there is no estimate of the potential Guidelines
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Offense level or the calculations thereof. For reasons noted below, this is a

significant omission and one which was misleading to the unsophisticated, first

time offender who is the defendant in this case.


THE PLEA


      On May 1, 2014, Mr. Staples appeared before Judge McAvoy and entered a

guilty plea pursuant to the agreement [A-34].        Judge McAvoy advised and

questioned Mr. Staples with respect to the rights he was waiving by entering his

guilty plea, and the defendant acknowledged that he understood the rights he was

giving up. The clerk read the counts of the Indictment aloud, and Mr. Staples said

that he was guilty after the reading of each count. The Assistant United States

Attorney was asked to outline the Government’s proof, and she did so. Defense

counsel was asked to outline for the Court his experience and the time he spent on

this case. Mr. Staples was not asked to independently allocute regarding his actions

which constituted the crimes to which he pled guilty, although he was asked to

acknowledge his guilt and admit the allegations outlined by the Government. Judge

McAvoy explained the sentencing options and the fact that he was not bound by

the provisions of the plea agreement. Judge McAvoy then accepted the defendant’s

plea and set a date for sentencing.




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THE SENTENCING SUBMISSIONS


      Between the plea allocution and the date of sentencing, the Probation

Department prepared a PreSentence Report, and both the Government and the

defense submitted memoranda. Although given the opportunity to object to the

draft PreSentence Report, defense counsel failed to submit any substantive

objections or offer alternative offense level calculations, except an objection that

Mr. Staples had not engaged in specific sexual activity, which was contrary to what

Staples had admitted during the plea allocution. The Government’s sentencing

memo [A-59], in addition to seeking the maximum sentence of 90 years, argued

that the Court should deny the defendant credit for acceptance of responsibility,

because Mr. Staples denied that same issue during his presentence interview, and

his attorney compounded the problem by emphasizing the denial in the defense

memo. The defense memorandum [A-68] was relatively short, and a considerable

portion of it discussed the advisory nature of the guidelines, which was obviously

familiar to Judge McAvoy, a very experienced jurist. In the memorandum, defense

counsel inexplicably told the Court that there was no excuse for the defendant’s

conduct [A-71]. The sole effort to seek a sentence below the recommendation of

the Government and the Probation Department was a single cursory paragraph [A-

71] asking the court to sentence the defendant below the recommended 90 years.

He did not argue for concurrent sentences on the three counts of conviction, nor

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did he make an argument that the three allegedly separate offenses were really part

of a single course of conduct, which would have bolstered an (unmade) argument

for concurrent sentences. No argument was made that the calculated Guideline

range was excessive or incorrect, and a sentence below the Guidelines would be

appropriate. He did not argue the parsimony clause of § 3553(a) to seek a lesser

sentence.


THE SENTENCING HEARING


      On October 14, 2014, sentencing proceeded before Judge McAvoy. Despite

an invitation from Judge McAvoy to make an oral presentation on behalf of his

client, Anderson chose not to speak.


      After the Government addressed the Court and asked for a guideline

sentence (life), Staples addressed the Court. Explaining that he was extremely

remorseful for his actions and has since found religion, he asked for mercy and a

chance to once again be a productive citizen when released [A-79-85]


      Judge McAvoy noted the guideline offense level (43) that he found, without

explanation or elaboration. He then sentenced Mr. Staples to serve three

consecutive terms of 30 years each, the statutory maximum, to be followed by a

lifetime of supervised release (as if the defendant might actually be alive at the age



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of 127), registration as a sex offender, and a $300 special assessment. Mr. Staples

is serving his sentence at the United States Penitentiary in Tucson, Arizona.




                          SUMMARY OF ARGUMENT

      Ryan Staples argues that his plea and sentence must be vacated, because he

did not receive effective assistance of counsel as mandated by the Sixth

Amendment. Specifically, he argues that the waiver of his right to appeal any

sentence of 90 years or less was not the product of a knowing, intelligent and

voluntary waiver of his rights, because his counsel’s advice and actions were so

deficient that he was deprived of due process of law.

      Staples argues that had he received proper and competent advice, he would

either have gone to trial and put the Government to its proof, or entered a guilty

plea to all charges without a waiver of appellate rights, thus preserving his ability

to argue for a sentence of less than the maximum of 90 years, and preserving his

ability to appeal the sentence.

      Staples argues further that he received no benefit whatever from the plea

agreement, as the appellate waiver prevents him from challenging a sentence of 90

years or less, when he faced a maximum of 100 years had he gone to trial or

pleaded without a waiver, which is a distinction without a difference given the

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numbers involved. He also submits that the plea agreement and the waiver

contained therein are of no force and effect because the Government breached the

agreement in arguing for the denial of downward adjustments to the Sentencing

Guidelines for acceptance of responsibility.


      Staples argues that his counsel’s performance in connection with the plea

agreement and sentencing, including failing to object to the Guidelines calculation,

submitting a deficient and, indeed, counterproductive memorandum, and failing to

argue at all during the sentencing hearing, deprived him of the effective assistance

of counsel to which he is entitled.


      Finally, Staples argues that the sentence of 1,080 months, 90 years, the

statutory maximum on each of the counts of conviction run consecutively, was

both procedurally and substantively unreasonable and must be vacated.




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                                  ARGUMENT


                                   POINT ONE

   DEFENSE COUNSEL'S PERFORMANCE WAS SO SUBSTANDARD
            AS TO CONSTITUTE INEFFECTIVE ASSISTANCE


I. APPLICABLE LAW


      The Sixth Amendment to the United States Constitution guarantees criminal

defendants the assistance of counsel for their defense. In Strickland v. Washington,

466 U.S. 668 (1984), the United States Supreme Court set out the definitive two

prong test for determining whether counsel's performance is ineffective. Counsel's

performance must be objectively unreasonable based upon prevailing professional

norms, and there must be "…a reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have been different."

Strickland, supra, at 694. In the case at bar, for the reasons set forth below, it is

clear that both of Strickland's requirements have been met, and therefore Mr.

Staples' plea agreement and appellate waiver are unenforceable.


      In United States v. Gordon, 156 F. 3rd 376 (2nd Circuit, 1998) this Court

made clear that counsel has an affirmative obligation to inform his client about

considerations relevant to acceptance of a plea agreement. In Gordon, the Court

ruled that counsel's performance fell below an objective standard of reasonableness
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because of counsel's underestimation of the defendant's exposure to a higher

sentence if he went to trial rather than accept a plea. The Court found this to be key

because "knowledge of the comparative sentencing exposure between standing trial

and accepting a plea offer will often be crucial to the decision whether to plead

guilty." Gordon, supra, quoting United States v. Day, 969 F. 2nd 39 (3rd Circuit,

1992). Such is the case at bar. Staples faced a maximum of 100 years in prison if

convicted at trial, yet the plea agreement his counsel advised him to accept

required him to waive his right to appeal any sentence up to 90 years. That ten year

difference, given the magnitude of the numbers, was no difference at all, and thus

Staples derived no benefit from the plea agreement. Counsel's advice to accept the

plea agreement, and the waiver it contained, was thus objectively unreasonable;

why would Staples not wish to preserve his appellate rights for a 90 year sentence,

especially when the alternative, not accepting the offer, could only add ten years

to what was already a sentence beyond his life expectancy?


      A defendant's knowledge of his rights, and lack of experience in the criminal

justice system, are relevant matters in determining whether his counsel's

performance was substandard, Purdy v. United States, 208 F. 3rd 41 (2nd Circuit,

2000) Staples had no criminal record, and had never before been the subject of a

Federal criminal proceeding. He never finished high school, although he

apparently obtained a diploma through a correspondence school. Charged with a

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very serious crime, he relied upon his lawyer to provide the advice he needed to

make an informed decision, but he didn't get it.


      This Court has sustained claims of ineffective assistance of counsel where an

attorney failed to inform her client about relevant considerations in the acceptance

of a plea, Davis v. Greiner, 428 F. 3rd 81 (2nd Circuit, 2005). An ineffective

assistance claim survives a guilty plea and appellate waiver where the claim

concerns not merely the actions of counsel, but the advice given in shaping the

decision to plead and/or waive, Parisi v. United States, 529 F. 3rd 134 ( 2nd Circuit,

2008). An ineffective assistance claim will be upheld where the advice of counsel

is not within acceptable standards, United States v. Torres, 129 F. 3rd 710 (2nd

Circuit, 1997). Clearly, as demonstrated below, not only did counsel fail to give

acceptable advice, he totally abdicated his duty of loyalty and zealous advocacy.


II. COUNSEL’S INEFFECTIVE REPRESENTATION


      A key measure of the effectiveness of counsel’s performance must be the

time and effort put into the defense. Here, Anderson spent minimal time, as he

noted in the following colloquy with the Court at the plea [A-55]:


      “THE COURT:         And approximately how much time have you spent so far
defending this case?




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         THE DEFENDANT [sic]:                  With direct consultation with my
client, approximately five hours and preliminary calculations, approximately 12
hours.

         THE COURT:        How about research? Did you do some research?

         MR. ANDERSON:            Yes.   Probably three to four hours of research
time.”

         It is not possible to discern what Anderson meant when he said “preliminary

calculations”, but it is reasonable to assume that “calculations” is a reference to the

Sentencing Guidelines; there is nothing else in the case that would require

calculating. It is significant that Anderson fails to mention meetings with

prosecutors, or court appearances, or traveling to the jails where Mr. Staples was

housed.


         From Anderson’s words, and assuming arguendo that the 12 hours does not

include the five hours he attributes to discussions with Mr. Staples, he spent a total

of 21 hours before entry of the plea. It is significant that Anderson is from

Plattsburgh, a drive of about two and a half hours each way to Albany, and Mr.

Staples was housed in the Rensselaer County Jail, just across the river from the

Northern District Courthouse in Albany .


         To provide proper assistance in a case of this nature, defense counsel would

need to spend many hours in discussions with the client, as well as performing all

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the other appropriate tasks. The applicable statutes and case law should be

researched, something which should take far more than 3 to 4 hours.


      The Sentencing Guidelines would need to be parsed and dissected before

agreeing to a plea, so that counsel had at least some idea of what his client faced.

The Guidelines in child pornography cases are complex and detailed, and learning

the facts of the case and applying them to the Guidelines to determine if

enhancements are appropriate or can be challenged is a time consuming effort, one

which needs to be undertaken prior to a plea. Even though the plea agreement in

this case contains no Guideline estimate, counsel should have undertaken his own

analysis. As discussed below, the Guideline range which the Probation Department

ultimately determined, adopted in toto by the Government and the Court, and to

which defense counsel did not object, should have been challenged.


      Plea negotiations with the United States Attorney’s office can occupy

considerable time as well, unless of course one simply accepts the offered plea

agreement without dissent. A proper negotiation in this case would have sought to

reduce the appeal waiver to something far below the statutory maximum sentence;

failure to obtain the Government’s consent would then require a lengthy discussion

of options with the defendant. How can one decide whether to plead or go to trial

without talking to the client about the evidence, the Rule 16 discovery, and the

strength of the Government’s case? None of that appears to have been done,
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certainly not in the paltry five hours Anderson admits spending with Staples. How

can any attorney let a client agree to be locked up forever with such little effort?


      As detailed below, the effort (or rather, lack thereof) Anderson put into the

sentencing submission is telling. If his pre-plea efforts were of the same caliber,

there is simply no way that Staples could have received appropriate and effective

advice, and his plea and waiver were not the product of a knowing, voluntary and

competent decision.


      Beyond the woefully inadequate and substandard performance of defense

counsel, there is the issue of whether the result would have been different if Staples

had received effective assistance. While no one can know that for certain, there

were options and avenues that should have been explored, and which may well

have led to a more favorable result.


      First, Staples could have chosen to go to trial. Given the strength of the

Government’s evidence, that may not have been a truly viable option, but the worst

result would have been a conviction on all counts and a maximum consecutive

sentence, 100 years, only ten years more than the sentence he received. That is not

such a great difference when dealing with numbers that high, so forcing a trial was

a possibility. At the very least, taking that position may have resulted in a better

plea agreement.


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      Second, Staples could have opted to plead to all counts without signing an

agreement or waiving any rights to appeal or challenge the sentence. Again, the

worst result could have been only ten years more than he is presently serving,

hardly a difference. This option was not presented to Mr. Staples, nor apparently

even considered by Anderson.


      In sum, the representation provided to Mr. Staples by Mr. Anderson was so

lacking in effort, and so far below any reasonable standard of professionalism, that

Mr. Staples was deprived of the effective assistance of counsel guaranteed to him

by the Sixth Amendment. His plea and sentence should be vacated.


III. THIS COURT CAN AND SHOULD DECIDE THIS ISSUE


      When a claim of ineffective assistance of counsel is brought on direct

appeal, the Court of Appeals has three options: “(1) decline to hear the claim,

permitting the appellant to raise the issue as part of a subsequent 28 U.S.C. § 2255

petition; (2) remand the claim to the district court for necessary fact-finding; or (3)

decide the claim on the record before [the Court]” United States v. Brown, 623 F.

3rd 104, 112 (2nd Circuit, 2010); United States v. Rodriguez, 531 Fed. Appx. 148

(2nd Circuit, 2013); United States v. Leone, 215 F. 3rd253 (2nd Circuit 2000). It is

respectfully submitted that because counsel’s performance in the District Court

was so woefully deficient, this Court should adjudicate the issue. However, if this


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Court determines that the record is insufficiently developed to decide the claim at

this juncture, the matter should be remanded for additional fact finding. Dismissal

to permit a 2255 petition would be a waste of time, effort, and judicial resources,

as it is clear from the existing record that counsel’s representation in the District

Court was far below prevailing professional standards, and that as a result Staples

is serving a sentence of 90 years. Staples argues that the claim is sufficiently

developed, by virtue of counsel’s failure to challenge the Sentencing Guidelines or

make    any   argument     at   sentencing,   and   by   counsel’s    deficient   and

counterproductive sentencing memorandum, which contained arguments contrary

to defendant’s interests. Alternatively, Staples argues that the case should be

remanded to the District Court for a fact-finding hearing on the issue.


IV. THE APPEAL WAIVER SHOULD NOT BE ENFORCED


       "Waivers of the right to appeal a sentence are presumptively enforceable"

United States v. Riggi, 649 F. 3rd 143 (2nd Circuit 2011), and the Court of Appeals

has consistently upheld such waivers. However, where the waiver is not made

knowingly, voluntarily and competently, the waiver will be deemed unenforceable,

Riggi, supra; United States v. Buissereth, 638 F. 3rd 114 (2nd Circuit 2011). A

waiver is not a knowing and voluntary one when the advice given by counsel was

below acceptable standards, Parisi v. United States, supra, as is certainly the case

here. Additionally, the plea agreement and appeal waiver cannot be enforced
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because of the Government’s breach of the plea agreement, as discussed below,

and because Staples received no benefit from the waiver, thus abrogating the

agreement on contract principles see, United States v. Riggi, supra.


V. GOVERNMENT BREACH OF THE PLEA AGREEMENT


      In the plea agreement, the Government agrees that they will advocate for a

two level adjustment for acceptance of responsibility, if the defendant accepts

responsibility for his actions, and an additional one level adjustment if the

acceptance is in a timely fashion and spares the government the necessity of

preparing for trial. These adjustments are standard in plea agreements and

routinely applied when the defendant enters into a plea agreement with the

Government, and enters a timely plea pursuant thereto, as was done in this case.

      The factual allocution at the time of the plea included an admission by the

defendant that he engaged in anal sex with a victim, something which he later

denied in both the PSR and the defense sentence memo. However, the defendant

was never asked by the District Judge to describe his conduct in his own words; he

merely answered "yes" when asked if he did the things which were read aloud in

court by the deputy clerk, and later gave the same answers when the Assistant

United States Attorney recited the factual allegations contained in the plea

agreement. Both of those “on the record” recitations were complex, and contained

technical statutory language.
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      If we examine that plea allocution from the defendant's standpoint, it is not

difficult to imagine the torment. He is a layman, charged with a horrific crime,

facing a Federal judge in the well of the courtroom, surrounded by United States

Marshals, federal prosecutors, and his lawyer, appointed by that same court. To say

this place he is in is unfamiliar territory is a vast understatement, and knowing that

he is about to admit his own guilt and be at the mercy of people and events beyond

his control is about as stress producing a situation as one can imagine. An official

reads language with which he is unfamiliar, but he knows he is pleading guilty and

knows that he is supposed to say "yes" when asked if that is what he did. It is

unrealistic to believe that at that point the defendant is cogent enough to stop the

proceedings and say "wait, I did the one thing, but I didn't do that". That is

especially important because he does admit that he produced and distributed child

pornography. That is the crime with which he was charged.


      In its sentencing memo, the Government urged the Court to deny defendant

the benefit of the downward adjustments for acceptance of responsibility, based

upon this denial of a single act. This de minimis and immaterial denial does not in

any way vitiate the defendant's acceptance of responsibility for the crimes for

which he was indicted and entered his plea, and the Government's position is

therefore a breach of the plea agreement, rendering it ineffective and therefore

voiding the appellate waiver. In this regard, it is important to remember that the

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defendant was not charged with any crimes other than the production, distribution,

and possession of child pornography, crimes he admitted during his plea

allocution. He freely admitted that he produced video images of underage boys

engaged in sexual activity, which is at the heart of the crime. The specific acts,

whether they refer to anal sex, oral sex, or other sexual activity, are not elements of

the crime of production of child pornography, so Mr. Staples' denial of one specific

act is not a denial of responsibility for his actions. Thus, the Government's

position, advocating the denial of a reduction in Guideline Offense level for

acceptance of responsibility, is a breach of the agreement, and renders the

agreement void, taking the appellate waiver down along with it.


      Adding insult to injury, defense counsel again demonstrated his

ineffectiveness, by failing to raise the issue of the Government’s breach in the

District Court.


VI. STAPLES RECEIVED NO BENEFIT FROM THE PLEA AGREEMENT


      The Government's advocacy for this denial, coupled with the complete lack

of a Guidelines estimate in the plea agreement, clearly demonstrates that Mr.

Staples did not receive any benefit from entering into the plea agreement. This

Court has often held that a defendant who receives the benefit of his bargain vis-à-

vis a waiver of appellate rights will not be heard to complain. For instance, in


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Chhabara v. United States, 720 F. 3rd 395 (2nd Circuit, 2013) this Court identified

the factors to be considered by a District Court in determining whether a defendant

would have decided not to plead guilty and insisted on going to trial. Those factors

include, inter alia, "whether pleading guilty gained him a benefit in the form of

more lenient sentencing" and "whether the Government would have been free to

prosecute the defendant on counts in addition to those on which he pleaded guilty."

Here, by pleading guilty pursuant to the agreement drafted by the Government,

Staples faced a maximum sentence of 90 years in prison. Had he gone to trial, or

pleaded as charged without an agreement (an option apparently not explained to

him by Anderson) he faced a maximum of 100 years, as the count of Possession of

Child Pornography which the Government agreed to dismiss in exchange for the

plea carries a maximum of ten years. As a practical matter, there is no difference

whatever between 90 and 100 years to a 37 year old man; either is a sentence

which extends far beyond any normal life span. Therefore, the combination of

those two identified factors, i.e. the lack of a benefit and the immateriality of the

additional count if the Government proceeded to prosecute, make it beyond cavil

that Staples received no benefit whatever from the plea agreement. Thus, the

appellate waiver contained therein is not a knowing and voluntary waiver, and

must be voided.




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       While Chhabara, supra, was concerned with whether a defendant would

have gone to trial, in this case Mr. Staples might well have either gone to trial and

put the Government to its proof, or entered a guilty plea to all the charges in the

indictment and thus avoided waiving any appellate rights as they applied to his

sentence, which is the most significant matter. There is no logical reason why the

factors identified in Chhabara, cannot be equally applied to an appellate waiver

contained within a plea agreement.


       In the case at bar, Mr. Staples gained no discernible benefit from his

appellate waiver. He faced a four count indictment, three counts of which (the

production counts) carried potential sentences of between fifteen and thirty years,

and the fourth of which carried a potential sentence of up to ten years. Mr. Staples

therefore faced a maximum sentence, assuming all sentences ran consecutively, of

100 years. Whether he pleaded guilty to the entire indictment or was convicted

after trial, the maximums remained the same. Accepting a plea agreement under

which he waived his right to appeal a sentence of 90 years or less was of no benefit

whatever to him. There is no qualitative, or true quantitative, difference between

90 and 100 years to a 37 year old man who will, in either case, spend the rest of his

life in prison.




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                                   POINT TWO


 THE DEFENSE "ADVOCACY" AT SENTENCING WAS SO DEFICIENT

  THAT STAPLES' SIXTH AMENDMENT RIGHTS WERE VIOLATED


I. COUNSEL FAILED TO OBJECT TO GUIDELINES ENHANCEMENTS


      The twenty-one page, small print plea agreement did not contain an estimate

of the Guidelines range, but the PreSentence Report did. That estimate included so

many upward enhancements that the initial range was level 50, well above level

43, the top of the Guidelines chart. By operation of law, therefore, the effective

Guideline range was Level 43, and the District Court so found. [A-86]. Defense

counsel filed a letter objecting to just a few minor points in the PSR, and made no

attempt at all to object to the enhancements or argue for their removal.


      The most significant failure in regard to the PreSentence Report is related to

the offense level calculation. In paragraph 43 of the PreSentence Report, the

Probation Officer blithely announces that “[A]s the counts do not involve

substantially the same harm and involve separate victims, they do not meet the

grouping criteria under U.S.S.G.§ 3D1.2 and will be analyzed separately.”

However, a careful reading of the Guidelines and the Application Notes leads to

the conclusion that a reasoned argument can be made that the defendant’s conduct

was part of a single course of conduct involving common victims. That would

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require the grouping of the counts of conviction, substantially reducing the offense

level because the three level grouping enhancement would not apply. This

argument was not made; in fact, there is nothing to indicate that defense counsel

even recognized the existence of the argument.


      In paragraph 73 of the PreSentence Report, the Probation Officer applies a 5

level enhancement under U.S.S.G. § 4B1.5, asserting that the offense of conviction

is a ‘covered sex crime.” Defense counsel never challenged this enhancement,

although a careful parsing of the Guideline and the Application Notes shows that

trafficking in child pornography does not constitute a covered sex crime for the

purpose of this enhancement. Whether that argument would have been successful

is unknown; what is known is that defense counsel never considered it or raised it,

thus once again demonstrating his total abdication of responsibility and his

ineffectiveness.


II. DEFENSE COUNSEL FAILED TO SEEK EXPERT ASSISTANCE


      Despite the nature of the crime, and the specific acts alleged against Mr.

Staples, defense counsel never sought the appointment of an expert, or the

allocation of CJA funds for expert assistance. An expert on child pornography

would have been of valuable assistance to the defense in determining whether or

not to plead guilty or go to trial, but Anderson never asked the Court to approve


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such an expert. Once the decision to plead guilty was made, the defendant should

have been examined by a psychologist or psychiatrist, whose insight and

evaluation were necessary for arguments to be made in mitigation at sentencing.

Inexplicably, Anderson never sought such an expert; the record is totally devoid of

any application for such, and nothing is contained in the defense sentencing

submission. This failure to make any attempt to obtain the expert assistance

needed, which may well have provided substantial mitigating evidence and

resulted in a much lower sentence, was simply inexcusable. Anderson knew that

Staples had been abused as a child; he was present at the PSR interview, and had

the report when he prepared his memorandum. The PSR discusses Mr. Staples’

childhood and the abuse he himself suffered, and merely making reference to that

in a sentence memo, without seeking the advice of an expert who might elaborate

on it and provide an opinion in mitigation, is clearly below the standards and

norms expected of defense counsel in a serious Federal criminal case where the

stakes are so high.


III. THE DEFENSE SENTENCING SUBMISSION IS INADEQUATE


      The defense submission itself [A-68] is clear and convincing evidence of

the fact that Staples received ineffective assistance of counsel of Constitutional

dimension. The first four pages or so of a seven page memorandum are consumed


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by the explanation that the Guidelines are advisory after United States v. Booker,

543 U.S. 220 (2005), and a simple recitation of the factors laid out in 18 U.S.C. §

3553(a),     with no details of how these factors would apply to Mr. Staples.

Anderson makes passing reference to 18 U.S.C. § 3553(a), in the section of his

memorandum where he describes the advisory nature of the guidelines and quotes

the factors the court must consider. There is no elaboration, however, and no

argument that the 90 year sentence the Government sought was far greater than

necessary to achieve the aims of sentencing.


        While counsel clearly knew that the Government was seeking a 90 year

sentence3, the maximum possible, and the probation department had made a similar

recommendation, he spent only a single sentence asking the Court to "deviate

downward" from that outrageous number. [A-71]. No argument is made for the

sentences on each count to run concurrently rather than consecutively, in spite of

the Government's recommendation. Anderson could have, and should have, argued

that the acts of the defendant, committed as they were over a short period of time,

involving victims who were all known to each other and who were interacting with

each other, were part of a single course of conduct, not separate and distinct acts.

Such an argument might well have provided a persuasive basis for the District

Court to apply a lower Guideline level, and run the sentences concurrently instead

3
    The Government’s sentencing memorandum was filed before the defense memo.
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of consecutively, but the argument was not made, either in the written submission

or orally at the time of sentence. Even assuming that Judge McAvoy intended to

impose consecutive sentences regardless of such an argument, Anderson failed to

advocate for minimum sentences rather than consecutive maximums.


      There is a vast gulf between concurrent minimum sentences (15 years) and

consecutive maximum sentences (90 years), and Judge McAvoy had many choices.

Without vigorous defense advocacy, or any advocacy at all, the Government's

demand for the absolute maximum prevailed. This complete failure of Anderson to

make any reasoned argument for a sentence other than 90 years surely did nothing

to assist the defendant, and the prejudice, a lifetime of imprisonment, is obvious.


      It gets worse, though. Not only did Anderson make no arguments to

persuade the Judge to give concurrent sentences or a lesser sentence, he virtually

threw the defendant under the proverbial bus. Portions of the defense sentencing

memo read as if they came from the Government's word processor. For example,

Anderson says "[T]here is no excuse for Mr. Staples' actions, and he offers

none."[Defense memorandum p. 4, A-71] Later he says "regardless of why Mr.

Staples chose to sexually molest his three victims, it does not alleviate the physical,

emotional and psychological [sic] he caused them." [Defense memorandum p. 5,

A-72]. As if those damning words weren't enough, in the very next paragraph

Anderson writes "[F]urthermore, Mr. Staples knows that his possession of internet-
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obtained child pornography certainly contributed to a world-wide industry of

production and the victimization of children past and present. He knows that he, as

both a purveyor and solicitor of child pornography, fed the demand for such

images." If one did not know that these are quotes from the defense attorney's

memo, one would assume they were a part of the prosecution effort to obtain a

maximum sentence.


IV. COUNSEL FAILED TO ADVOCATE AT SENTENCING
      On October 14, 2014, sentencing proceeded before Judge McAvoy. When

invited (indeed, expected) to address the Court on Mr. Staples’ behalf, which was a

perfect opportunity to argue for concurrent sentences of far less than the maximum

sentence, Anderson said nothing!


      “THE COURT: Mr. Anderson, what would you like to say on behalf of Mr.
Staples before I sentence him?
     MR. ANDERSON:             Your Honor, I would rely upon my previous
submissions in the sentencing memorandum….”[A-77]
This silence, given the woefully deficient sentencing memorandum, was a

complete abdication of Anderson’s responsibility to Staples, and amounts to per se

ineffective assistance. No defense attorney worthy of the name would stand

virtually mute when a client faces a lifetime of incarceration.


      The damage caused to Mr. Staples by Anderson’s memorandum and failure

to advocate his client’s cause at sentencing is clear. In his remarks at sentencing,

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Judge McAvoy emphasized the trauma caused to the victims by Mr. Staples’

conduct: “…you demonized your victims…” [A-85]; “I have had a lot of

experience with people who have been victimized by conduct, maybe not as

heinous as yours…and it really ruins those…young men.”[A-85/86] (emphasis

added). Judge McAvoy then proceeded to sentence Staples to 90 years in prison.


                                 POINT THREE

       THE SENTENCE WAS PROCEDURALLY UNREASONABLE


      Appellate courts begin analysis with a review of sentences' procedural

reasonableness. A district court will normally begin all sentencing proceedings by

correctly calculating the applicable U.S. Sentencing Guidelines range, and will

then consider the factors listed in 18 U.S.C.S. § 3553(a) before imposing a final

sentence. United States v. Dorvee, 616 F. 3rd 174 (2nd Circuit, 2010); United States

v. Corsey, 723 F.3d 366, 368 (2nd Circuit 2013) In the case at bar, the District

Court did not articulate a calculation of the Guidelines, as required. The Court did

note that it had reviewed the presentence report [A-76], but the record is devoid of

a guideline calculation. Only after the Government had made an argument, defense

counsel had declined to speak, and the defendant himself had spoken did the Court

mention the Guidelines, and then only in passing:




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“[I] have examined the guideline manual in connection with this matter and the

Court finds your total offense level is a 43, your criminal history category is a one,

and your guideline imprisonment range is life. However, the statutorily-authorized

maximum sentences are less than the maximum of the applicable guidelines range;

therefore, the guideline range is 1,080 months, pursuant to Section 5G1.2B of the

sentencing guidelines.” [A-86-87]


The Court did not explain how it had arrived at the guideline offense level. The

presentence report did calculate the guidelines, which the Government and defense

counsel accepted without challenge4, but the Court did not perform an independent

analysis, thereby abdicating its responsibility and rendering the sentencing

procedurally unreasonable.


      Similarly, the District Court failed to analyze the application of the 3553(a)

factors to the defendant, other than in the most cursory fashion. While the judge

said that he “considered all of the factors” [A-86], he did not articulate them, nor

did he say how they applied or what factual findings he made to support his

conclusions.


      Only after he imposed sentence did the District Judge find that the sentence

imposed was “sufficient, but not greater than necessary” to reflect the objectives of

4
 Defense counsel’s ineffectiveness for failing to challenge the calculation is noted
elsewhere in this brief.
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sentencing as set forth in the statute, [A-87]. He did not explain his reasoning in

detail , but simply noted the words of the statute. His reasoning should have been

spread upon the record prior to the imposition of sentence, so that the parties would

have an opportunity to be heard with regard thereto if they so desired.


      The failure of the District Court to properly calculate the Sentencing

Guidelines range, analyze the 3553(a) factors, and apply the law to the factual

findings constitutes plain error, and requires vacatur of the sentence.




                                   POINT FOUR

       THE SENTENCE WAS SUBSTANTIVELY UNREASONABLE


      At what point do we say "enough is enough?" Congress has mandated that

sentences must be “sufficient, but not greater than necessary” to achieve the aims

of sentencing, 18 U.S.C. 3553(a). Would 30 years be sufficient? 40? If Mr. Staples

were sentenced to 45 years, the minimum sentences consecutively, he would be 82

years old when released. The sentence he received, the maximum possible, is a life

sentence, and if Congress intended that to happen they would have said so; they

have not been shy about authorizing life in prison for any number of crimes.


      The sentence of 1,080 months, 90 years, meted out to Mr. Staples is far more

than the norm, and outside the heartland of sentences imposed even for child

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pornography, with the draconian mandatory sentences required under the Adam

Walsh Act. According to the Bureau of Prisons website, his projected release date

is March 20, 2092!! The United States Sentencing Commission has gathered the

statistics on sentences in Fiscal Year 2014, and charted them by Circuit and

District, broken down into categories of crimes, and available online for all to

examine5. The tables published by the Commission show that the median sentence

for child pornography convictions nationally was 97 months; in the Second Circuit

in 2014 it was 84 months; in the Northern District of New York the median was

180 months6. Mr. Staples sentence was 600% higher than the NDNY median,

which itself was more than twice the Second Circuit median, and nearly double the

national statistics.


         This Court will set aside a sentence when the decision of the District Court

cannot be located within the range of permissible decisions, United States v.

Cavera, 550 F. 3rd 180 (2nd Circuit, 2008). While it is rare that sentences will be set

aside for substantive unreasonableness, nonetheless this Court must from time to

time exercise that judgment. “If substantive review of sentences actually exists



5
  http://www.ussc.gov/research-and-publications/federal-sentencing-
statistics/federal-sentencing-statistics-district-circuit-state/federal-sentencing-
statistics-2014

6
    Id.,Tables 5 and 7
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other than in theory, it must be undertaken at least occasionally.” United States v.

Corsey, supra, at 377 (2nd Circuit, 2013) (Underhill, D.J., concurring). The

sentence in this case, given the woefully deficient advocacy by Mr. Staples’

defense attorney, must be reviewed and set aside.




                                 CONCLUSION


      For all of the reasons set forth herein, Defendant-Appellant Ryan Staples’

plea and sentence must be vacated, and the matter remanded to the District Court.


DATED: June 10, 2015


                                             Respectfully submitted,


                                             /S/ JOHN   S. WALLENSTEIN
                                             JOHN S. WALLENSTEIN, ESQ.
                                             Attorney for Defendant-Appellant
                                                    RYAN STAPLES
                                             1100 Franklin Avenue, Suite 100
                                             Garden City, New York 11530
                                             (516) 742-5600
                                             JSWallensteinEsq@outlook.com




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                                CERTIFICATION



             Pursuant to Rule 32 (a) (7) (C) of the Federal Rules of Appellate

Procedure, JOHN S. WALLENSTEIN, ESQ., counsel of record for Defendant-

Appellant RYAN STAPLES, hereby certifies that the foregoing brief for

Defendant-Appellant is in compliance with the type-volume limitations set forth in

F.R.A.P. 32 (a) (7) (B), in that it contains 8,257 words as measured by the word

processing program utilized to prepare the brief.


DATED:       GARDEN CITY, NEW YORK
             June 10, 2015

                                              /S/ JOHN   S. WALLENSTEIN
                                              __________________________
                                              JOHN S. WALLENSTEIN, ESQ.




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